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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 22-CV-14102-MIDDLEBROOKS

  DONALD J. TRUMP,

        Plaintiff,

  v.

  HILLARY R. CLINTON, et al.,

        Defendants.
  __________________________________________/
                     ORDER DENYING MOTION FOR DISQUALIFICATION

         THIS CAUSE comes before the Court on Plaintiff Donald J. Trump’s Motion to Disqualify

  Judge Middlebrooks, filed on April 4, 2022. (DE 21). For the reasons explained below, Plaintiff’s

  Motion is denied.

         Plaintiff initiated this lawsuit on March 24, 2022, alleging that “the Defendants, blinded by

  political ambition, orchestrated a malicious conspiracy to disseminate patently false and injurious

  information about Donald J. Trump and his campaign, all in the hopes of destroying his life, his

  political career and rigging the 2016 Presidential Election in favor of Hillary Clinton.” (DE 1 at

  ¶ 9). 1 In this Motion, Plaintiff argues that I should disqualify myself from presiding over this case

  because I was nominated to the federal bench by former President Bill Clinton, the spouse of

  Defendant Hillary Clinton. (DE 21 at ¶ 3). According to Plaintiff, the very fact of my appointment

  by Bill Clinton “amounts to prejudice so virulent or pervasive as to constitute bias against a party.”


  1
    On this general premise, the Complaint asserts claims for RICO violations, predicated on the
  theft of trade secrets and obstruction of justice (Count I); injurious falsehood (Count III); malicious
  prosecution (Count V); violations of the Computer Fraud and Abuse Act (Count VII); theft of trade
  secrets (Count VIII); and violations of the Stored Communications Act (Count IX). The Complaint
  also contains counts for various conspiracy charges and theories of agency and vicarious liability.
  (Counts II, IV, VI, and X–XVI).
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  (Id. at ¶ 6). Plaintiff also urges that disqualification is necessary because he “is unaware of the

  exact extent of the relationship between” me and Defendant Hillary Clinton. (Id.).

            The judicial disqualification statute, 28 U.S.C. § 455, provides that “[a]ny justice, judge,

  or magistrate judge of the United States shall disqualify himself in any proceeding in which his

  impartiality might reasonably be questioned.” 28 U.S.C. § 455(a). The importance of this statute

  cannot be understated. It ensures that litigants in federal court receive impartial treatment and plays

  an important role in upholding the public’s trust in the judiciary. But a district judge “is as much

  obliged not to recuse himself when it is not called for as he is obliged to when it is.” In re Drexel

  Burnham Lambert Inc., 861 F.3d 1307, 1312 (2d Cir. 1988); see also In re Union Leader Corp.,

  292 F.3d 381, 391 (1st Cir. 1961). 2 This is because “[i]n the real world, recusal motions are

  sometimes driven more by litigation strategies than by ethical concerns.” 3 In re Kansas Pub.

  Emps. Ret. Sys., 85 F.3d 1353, 1360 (8th Cir. 1996) (quoting In re Cargill, Inc., 66 F.3d 1256,

  1262–63 (1st Cir. 1995)). “We subscribe to the view that motions to recuse should not ‘be viewed

  as an additional arrow in the quiver of advocates in the face of [anticipated] adverse rulings.’” Id.

  at 1360 (quoting TV Commc’n Network, Inc. v. ESPN, Inc., 767 F. Supp. 1077, 1081 (D. Colo.

  1991)).




  2
    While there is no longer a “duty to sit” doctrine and § 455(a) requires that doubts be resolved in
  favor of recusal, judges are still obligated to recuse only when there are proper grounds to do so.
  See United States v. Kelly, 888 F.2d 732, 744 (11th Cir. 1989).
  3
    I note that Plaintiff filed this lawsuit in the Fort Pierce division of this District, where only one
  federal judge sits: Judge Aileen Cannon, who Plaintiff appointed in 2020. Despite the odds, this
  case landed with me instead. And when Plaintiff is a litigant before a judge that he himself
  appointed, he does not tend to advance these same sorts of bias concerns. See, e.g., Donald J.
  Trump v. Wisc. Elections Comm’n, No. 20-cv-1785 (E.D. Wis. 2020) (Judge Brett Ludwig);
  Donald J. Trump for President, Inc., et al., v. Sec. of Commonwealth of Pa., No. 20-cv-3371 (3d
  Cir. 2020) (Judge Stephanos Bibas); Comm. on Ways and Means, U.S. House of Representatives
  v. U.S. Dep’t of the Treasury, No. 19-cv-01974 (D.D.C. 2019) (Judge Trevor McFadden).
                                                     2
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         It is true that I was appointed to the bench by former President Bill Clinton. Although

  former President Clinton is not a party to this lawsuit, I will give Plaintiff the benefit of the doubt

  and equate the interests of the Clintons for the sake of analysis here. The law is well settled that

  appointment to the bench by a litigant, without more, will not “create in reasonable minds, with

  knowledge of all the relevant circumstances that a reasonable inquiry would disclose, a perception

  that [the judge’s] ability to carry out judicial responsibilities with integrity, impartiality, and

  competence [would be] impaired.” In re Executive Office of the President, 215 F.3d 25, 25 (D.C.

  Cir. 2000) (quoting Code of Conduct for United States Judges Canon 24 cmt., reprinting in 2

  Administrative Office of the United States Courts, Guide to Judiciary Policies and Procedures, ch.

  1 at 1-2, 1-3); see also Straw v. United States, 4 F.4th 1358, 1362 (Fed. Cir. 2021) (“There is no

  support whatsoever for the contention that a judge can be disqualified based simply on the identity

  of the President who appointed him.”); MacDraw, Inc. v. CIT Grp. Equip. Fin., Inc., 138 F.3d 33,

  38 (2d Cir. 1998) (“Nor should one charge that a judge is not impartial solely because an attorney

  is embroiled in a controversy with the administration that appointed the judge. Judges generally

  have political backgrounds to one degree or another but must be presumed, absent more, to be

  impartial.”).

         Given this precedent, I am not disqualified from presiding, nor should I recuse on the basis

  of any appearance of partiality. The three cases Plaintiff cites in his Motion compel no different

  conclusion, and indeed do not appear to support his arguments. 4 To warrant recusal, something



  4
    In the first case he cites, Hamm v. Members of Bd. of Regents of Fla., the Eleventh Circuit held
  that a district court judge did not exhibit bias sufficient to warrant recusal based on certain
  statements he made at trial. See 709 F.2d 647, 651 (11th Cir. 1983) (“This is not a case in which
  the judge openly exhibited ‘a partisan zeal’ for the defendants or ‘stepped down from the bench to
  assume the role of advocate’ on the defendants’ behalf.”); see also Davis v. Bd. of Sch. Com’rs of
  Mobile Cnty, 517 F.2d 1044, 1051 (11th Cir. 1975) (same). Neither case discussed whether judicial
  appointment by a party, without more, would cause a reasonable person to suspect bias on the part
                                                    3
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  more must be involved than solely my appointment to the bench twenty-five years ago by the

  spouse of a litigant now before me. And the conclusory assertions in Plaintiff’s Motion do not

  supply any conceivable, additional grounds. I have never met or spoken with Bill or Hillary

  Clinton. Other than my appointment by Bill Clinton, I do not now have nor have I ever had any

  relationship with the Clintons. 5 “Recusal cannot be based on unsupported, irrational or highly

  tenuous speculation.” United States v. Cerceda, 188 F.3d 1291, 1293 (11th Cir. 1999) (internal

  quotations omitted). Moreover, I have considered whether the nature of this lawsuit—acutely

  politically charged as it is—might provide some additional cause to question my qualification to

  preside, but I see no impediment there either. Every federal judge is appointed by a president who

  is affiliated with a major political party, and therefore every federal judge could theoretically be

  viewed as beholden, to some extent or another. As judges, we must all transcend politics.

         When I became a federal judge, I took an oath to “faithfully and impartially discharge and

  perform all duties . . . under the Constitution and laws of the United States.” 28 U.S.C. § 453. I

  have done so for the last twenty-five years, and this case will be no different.




  of the presiding judge. And Bivens Gardens emphasized that, to establish bias justifying
  disqualification, a party must demonstrate “such pervasive bias and prejudice that it constitutes
  bias against a party”—a showing that certainly has not been made here. 140 F.3d 898, 914 (11th
  Cir. 1998).
  5
    I was nominated by former President Clinton in September 1996 upon the recommendation of
  Florida’s Senators. My name was one of three submitted to them by a nominating commission
  they had established. Both Senator Bob Graham, Democrat, and Senator Connie Mack,
  Republican, spoke on my behalf at the hearing of the Judiciary Committee chaired by Senator
  Orrin Hatch, Republican, which considered the nomination. My nomination was unanimously
  reported, and I was confirmed by the Senate by unanimous consent in a voice vote. 143 Cong. Rec.
  70 (Fri. May 23, 1997) (S5066–5070).
                                                    4
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        As such, it is ORDERED AND ADJUDGED that Plaintiff’s Motion (DE 21) is DENIED.

        SIGNED in Chambers at West Palm Beach, Florida, this 6th day of April, 2022.




                                                         Donald M. Middlebrooks
                                                         United States District Judge



  cc:   Counsel of Record




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